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May 6th, 2021

Dr. Elizabeth Lynn (Liza) Anderson

Duluth, MN



Re: Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger:

I am an assistant professor of theology and monastic studies at the College of Saint Scholastica, a
Benedictine college founded by the sisters of St. Scholastica Monastery in Duluth, MN.

Jessica Reznicek was the very first person I met when I moved to Duluth in 2019. I found her
sitting at the welcome desk at St. Scholastica’s monastery and we quickly became friends. We
were both exploring religious vocations. At the time she was living in the monastery and my
office was just down the hall, with the chapel directly in the middle.

Jessica was a dearly loved member of the monastery community, and brought a vibrancy and joy
to its shared life. Although we are both women in our late thirties, we are nevertheless several
decades younger than most of the sisters, and having the two of us around brought an aura of
hope and energy to a community which, without her, has sometimes felt more like a cozy
Christian retirement home. The sisters often remarked in wonder that they never would have
imagined that two women our age, both very different from one another, could possibly fit in
with them so well. Even when we fell into monastic transgressions like giggling in the corridors
or whispering in the cafeteria line, it was clear that the sisters who corrected us were delighted to
actually have a problem like “too much youthful exuberance” on their hands for a change!

Jessica was an important presence for me during what was otherwise a difficult initial transition
to life in Duluth after a decade spent in graduate school at Harvard and Yale. The first time she
came to my apartment, she gazed in wonder at the thousands of books lining every wall. I felt
rather proud, falsely assuming that she was marveling at this impressive symbol of academic
acumen. Instead, she turned around and said sympathetically, “Wow. You must have a terrible
time making friends!”

Her diagnosis was not wrong! Thankfully for me, however, Jessica makes friends easily, and we
soon had many long conversations about discernment, prayer, vocation, and community life.
Jessica has a rare ability to connect with people from all different backgrounds and walks of life,
whether that was the undergraduates at the college, the guests she served through the feeding
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program of the Damiano Center, the elderly sisters in nursing home care, or awkward scholars
who had spent their entire adult lives learning how to interpret texts rather than people.

Jessica is a woman of great integrity, who has always reflected carefully and done her best to act
according to her conscience. She has never tried to evade or to deny responsibility for her
actions, and has responded with maturity and grace throughout the legal proceedings, making the
best of circumstances and continuing to find ways to be a useful presence in the community even
under constraints. While her actions against the Dakota Access Pipeline perhaps showed more
zeal than prudence, I can imagine no better place to continue to grow in virtue than a monastic
community filled with wise, older women who love her.

I would ask you to consider not sentencing Jessica to prison so that she can return to the
monastic community whose presence she so greatly enriched. Most of the sisters are very
advanced in years. Six sisters died in 2020, and another nine between 2018 and 2019.
Demographics suggest that the coming years will only see further losses. Yet the spontaneous
affection and vibrant spirit that Jessica brought to the community prevented the monastery from
seeming like only a museum, in which time was marked mainly by a relentless stream of
funerals. Jessica gave the community a spark of hope and of joy, and in return they modeled for
her patience, wisdom, and prudence.

Thank you for taking this information into consideration as you consider appropriate sentencing.
If I can offer any further information that would be helpful for your discernment, please do not
hesitate to contact me.

Sincerely,
Liza Anderson
(Elizabeth Lynn Anderson)


Duluth, MN




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 Sr. Jeanne Ann Weber, St. Scholastica Monastery,                         . Duluth, Mn.            May 4, 2021
****Subject: Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA
Dear Judge Ebinger, I first met Jessica Reznicek when she became a volunteer at St. Scholastica Monastery,
Duluth MN beginning in March of 2019. Live-in Associates share our life of prayer and work, take time to
deepen their spirituality, and volunteer their time and talents within the context of a religious community.
One of the options for Associates is to have one of the Sisters for a spiritual director, a companion on the
journey to grow in the spiritual life. She took advantage of this toward the end of March and asked me to
become her spiritual director. Around this same time, she also began therapy with a counselor.
As we are an older Community of Benedictine Sisters, her gifts, talents, and willingness to serve were important
assets. Some of her ministries included outdoor work, which she relished for Jessica had an early relationship
with nature, the earth, and in particular the rivers and lakes as places of peace, healing, and beauty. Jessica had
several duties in our chapel. She did many other tasks in helping Sisters as she was generous, caring, and strong.
She also worked with creativity and zest at Kid’s Kitchen at the Damiano Center, a Center for those in need.

We have Morning &Evening Prayer and Mass every day. She was very faithful in attending. She found the
psalms, Bible reading, and the Mass very meaningful in her life. She also did personal prayer in our Eucharistic
Chapel, often in the early morning & evening hours. She has grown in her relationship with Mary and Jesus.
In Oct. of 2019, there was a warrant for her arrest because of her stand and actions against the pipeline in Iowa.
She went to Des Moines and turned herself in and was put on an ankle monitor and she returned to Duluth.
When she was on probation, she was extremely conscientious in following the schedule set up with her
probation officer. She continued volunteering here with her very caring, responsible, and joy-filled spirit.
When Jessica returned to Des Moines, I continued to keep contact with her through weekly spiritual direction
sessions by telephone. She shared about her work and commitment to the poor at the Catholic Worker in Des
Moines. She continues to pray and meditate and often attends Mass at St. Ambrose Church.
Social activism was a part of Jessica’s life at one time and was very meaningful to her and to those she
encouraged and supported for an environmentally healthier world. At this stage of her life, she has become
more involved in service and growing psychologically and spiritually. She is very sincere in her growth,
honesty, and efforts.
Besides developing close ties with the Sisters, she also made friends in the wider Duluth community. Some
close friends whom she met at Sunday Mass and volunteering, would be willing to have Jessica stay in their
homes until she makes connections for potential job offers and finds an apartment. She could also continue her
volunteering at the Monastery as there is much need for her gifts and willing spirit of service.
I believe Jessica should be given parole and not a jail sentence. She has been making restitution, so to speak, for
the last 3 or more years, and hopefully this could continue through her volunteering and meaningful work.
There were no instances of Jessica not following parole guidelines during this past time. Jail often punishes
rather than causes rehabilitation. Rehabilitation usually occurs when there is a community of healthy support for
a person. Jessica would have that in Duluth through her relationships with the Sisters and other good friendships
she has made here. She would have job offers because of her past connections with a variety of resources.
Jessica has much in place now as she continues to grow wholistically – mind, body, and spirit through
counseling, spiritual direction, and connecting with healthy friends - new and old.
     Sr. Jeanne Ann Weber Director of Liturgy at St. Scholastica Monastery,
Member of the Council for the Monastery        Board member of Essentia Health East- St. Mary’s Hospital
     Spiritual Director for the Center of Spirituality and Enrichment


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May 1, 2021



Melanie Keiper Federal Public Defender

400 Locust Street, Suite 340

Des Moines, IA 50309-2353



Subject: Regarding Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA




Dear Judge Ebinger:



We are Catholic nuns and members of the Congregation of the Humility of Mary. We have lived
and ministered in Iowa for most of our lives. In our acquaintance with Jessica Reznicek we have
witnessed her dedication to the homeless at the Catholic Worker House in Des Moines and her
work with peace and justice causes to which we share a commitment. We have also come to
know more of her personal story through friends whose judgment we value and trust. It is for
those reasons we are writing to ask for clemency in her sentencing.

Beginning as a young child Jessica had a great love for nature; the beauty of land and water
drew her to a love for creation and a strong desire to protect these gifts. For Jessica, who, in
her own words "experienced some dysfunction" in her family of origin, time spent near water
was like being with "a Mother" that nurtured and sustained her. The industrial growth in Iowa
and the pollution and devastation inflicted upon her "Mother'', therefore, grieved her greatly.

It was this love for the rivers and soil of Iowa that in 2016 motivated Jessica to stand strong in
opposition to the construction of the Dakota Access Pipeline being built at the expense of
Iowa's treasured rivers and fertile soil. Repeated attempts, through a variety of peaceful
means, to express the objections of citizens like herself seemed to be ignored. Land was taken
from landowners to enable a Texas- based corporation to proceed with the pipeline, a decision
that caused Jessica great grief and frustration with a system she saw as unjust.

As Jessica's search for justice continued, she found direction, meaning and peace in 2018 with a
Benedictine monastic community in Duluth, Minnesota where she volunteered in their work
and shared in prayer and community life. She also worked part time in a project to help reduce
childhood hunger and served some of the neediest persons in the Duluth area. Jessica hopes to
return to Duluth to continue her service and personal and spiritual growth after her legal
obligations are fulfilled.

It appears to us that, after these life-altering experiences, self-reflection and spiritual growth,
Jessica has learned alternative ways to live and care for God's creation and is ready and eager




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to walk that path in a positive way. It is our hope and prayer that, in your consideration about
her future, you will consider Jessica's earlier struggles, her growth and progress these past few
years, and her aspirations to make a positive contribution to society.

It is our opinion that a probation judgment for Jessica, with the expectation that she works with
the poor and homeless, while having a faith community around to support her, would be a
humane and effective way for her to repay society and regain her place as a contributing
citizen. It is our prayer that you agree, Judge Ebinger.

Thank you for your consideration.



Sincerely,

~ ~~ Clim
Sister Elaine Hagedorn, CHM

~ ~~ ~' 1 + ~ ~ C - ~
Sister Marilyn Jean Hagedorn, CHM




Des Moines, IA




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May 7, 2021

Gretchen Johnston, OSB
St. Scholastica Monastery

Duluth, MN

Subject: Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA



Dear Judge Ebinger:

My name is Sister Gretchen Johnston, a Benedictine Sister at Saint Scholastica Monastery in Duluth,
Minnesota. I am a church organist and music director at a small church across the bay in Superior,
Wisconsin, but I also teach music lessons and perform duties around our Monastery grounds, especially
related to music and worship and, in the summer, gardening.

I am writing this letter on behalf of Jessica Reznicek, who stayed here with us at the Monastery as a
Benedictine Associate from March 2019 through March 2020. I enjoyed getting to know her and working
and doing leisure activities with her. One thing she helped us with was volunteering at our Monastery
information desk. When people called the Monastery, her cheery voice was often the first thing they
heard. She was always ready with a kind answer to callers or passersby.

We have many gardens on our grounds. I mostly worked in gardens other than she, but she was a great
help to the Sister with whom she worked. She also helped that Sister with errands and heavier yard
work, such as shoveling snow in the winter and mowing the lawn in the summer.

She helped us with activities relating to worship, especially preparing the vessels and washing the
laundry for Communion and then brought Communion to elderly Sisters. She greeted people entering
our chapel to worship with us for Sunday Eucharist and brought an energy and enthusiasm that
invigorated and inspired people (this was before March 2020 when we closed our chapel to guests
during the COVID-19 pandemic.)

Jessica has told me that she would love to return here. I would be very happy if she returned to us, and
several other Sisters have expressed this wish also. Her energy, cheerfulness, and enthusiasm are
contagious, and when she had to leave us I felt as if there was a void in our community.

I do not believe that Jessica should go to prison. The actions she committed at the pipeline, while
motivated by a sincere desire to protect the land and water, are actions that belong to a different
person than I saw at our Monastery. Her desire to protect the land and the water is beautiful and
familial, but I saw her become more measured, deliberate, and more at peace with herself while here at
the Monastery. From my reading of various archived newspapers about this case, I do not believe
anyone was truly hurt by what she did at the pipeline. I am not sure what the desired result of her action
was, other than a symbolic action meant to bring awareness to an issue close to her heart. I wonder if
perhaps she was not aware of other actions to take and that desperation was part of her decision.

I believe that, while Jessica’s concern for the earth and water is important and not to be
underestimated, that any actions she might take in the future to protect our environment will be less




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impulsive and more considerate of others’ property. I do not believe she will commit crimes of this
magnitude in the future.

Here at the Monastery, one of our definitions of contemplation is to “take a long loving look at the
Real.” Our contemplative action is action flowing from this “long loving look at the Real.” While Jessica
was here, she began to embody this definition. This is why I believe she will not do an action of this
magnitude again, because she has grown up from this decision and deeper into the spirit of our
contemplative action.

Thank you for reading my letter. I sincerely care about what happens to Jessica, and I thank you also for
caring.

Sincerely,
Gretchen Johnston, OSB

St. Scholastica Monastery


Duluth, MN




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26 April 2021

Diane Leutgeb Munson

Winona, MN

Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA


Dear Judge Ebinger:
My name is Diane Leutgeb Munson, I have lived in Winona, MN with my spouse, since
graduating from college in 2004. Together we run a small business and have been volunteers
with the Winona Catholic Worker for over seventeen years. I met Jessica Reznicek through the
Catholic Worker many years ago. I have long been inspired by the consistency of her lifestyle
and the depth of her dedication to not only serving others but also working tirelessly for justice
on behalf of those whose voices go unheard. By allowing Jessica to serve her time on probation
instead of in a jail cell you will be increasing the potential for good in the world.
Three observations about Jessica’s character that stand out are her faith practice, her intense
commitment to the health of people, land and community and her sense of humor. I have seen
Jessica come into her own in the context of the Benedictine monastery where she was able to
pray and work alongside a group of devout women. Faith being at her core, it is not surprising to
see her energies extend to the care of marginalized people and endangered lands whether it be
serving in a soup kitchen or growing vegetables in an urban garden. What has surprised me is
her ability to cultivate laughter and spread humor often in difficult or stressful situations. Though
she takes life and her role in it very seriously, she also embraces humility and recognizes the
need for small delights on a daily basis and in the darkest moments.
Having Jessica’s mind, body and passion in our communities is such an asset and a sentence
to incarceration would deny so many the care she is eager to provide. Jessica has always
carried the weight of her actions close to her heart and seeks forgiveness daily for her
shortcomings and missteps both large and small. Simultaneously, she lives out her deepest
beliefs by helping those around her not out of a sense of duty but instead out of joy. The actions
she takes each day make our world more hopeful, more vibrant and more peaceful. Please
consider how deeply we all need more people like Jessica in our midst. Thank you for your time.


Most sincerely,
Diane Leutgeb Munson


Winona, MN




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April 19, 2021,
Sr. Jayne Erickson, OSB
St. Scholastica Monastery

Duluth, MN
Subject: Regarding Sentencing of :Jessica Reznicek, USDC 4:19-cr00172 RGE-HCA

Dear Judge Ebinger:

I’m Sr. Jayne Erickson, a Benedictine Sister at the St. Scholastica Monastery in Duluth, Minnesota.
Jessica Reznicek and I shared living quarters from March 2019- March 2020, while she was an
Associate and I was a Postulant in the community. During that time, Jessica and I worked closely
together to meet needs in the community. Our tasks included manual labor such as shoveling in
the winter and gardening spring through fall. We also spent considerable time doing relational
ministries such as greeting guests at the information desk and in the chapel, spending time with
the Sisters in Assisted Living, running errands, and serving as companions for Sisters when they
had appointments outside the monastery.

It took no time at all for Jessica and the Sisters to connect on a meaningful level. Her joyful spirit
and positive outlook brought healing to those who were discouraged and her willingness to build
relationships filled many needs. Jessica loved volunteering in Liturgy as Sacristan and Eucharistic
Minister, preparing the vessels and serving Communion to the Sisters and guests. She regularly
attended Morning and Evening Prayer and Mass, as well as finding time to pray in a special chapel
designed for adoration and devotion to her Lord, Jesus.

After Jessica’s stay at the monastery, she worked part-time at the Damiano Center in Duluth. Her
job was to provide nutritious meals and education to children in need. It is not at all surprising,
with her creativity and genuine care for people, that she was dearly loved by children and staff
alike. In our Benedictine Community and in the city of Duluth, Jessica Reznicek has made a
significant contribution to the quality of life for many.

I am aware that Jessica is facing sentencing for pipeline destruction in 2016. I am also aware of
her personal growth since I met her in 2019. Your Honor, I have witnessed Jessica’s calling to
serve people and her ability to enter into and contribute to a healthy, supportive community.
Please consider sentencing without prison time. I believe that the Jessica Reznicek I know today
will have a positive impact on any community where she chooses to live. I pray it might be the
Benedictine Community of St Scholastica Monastery.

Thank you, Judge Ebinger, for taking time to read this letter regarding Jessica Reznicek.

Sincerely,
Sr. Jayne Erickson, OSB
St. Scholastica Monastery

Duluth, MN




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April 15, 2021
Ma ree Wood

Grand Marais, Mn.
Subject: Regarding Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA



Dear Judge Ebinger,

My name is Maree Wood, I am a 63 year old mother of three, and grandmother of four. I am a
devout Catholic. I live on the northshore of Lake Superior in the small town of Grand Marai s,
Mn. I lived at the Monastery of St. Scholastica, in Duluth, Mn. from Oct. 2009-August 2010. I
lived with the beautiful Sisters as an Associate. An Associate volunteers her time in service to
whatever the days' needs are, performing many tasks in and outside the Monastery. We also
attend daily prayer 3 times a day, daily Mass, community meals, and special events. I loved and
continue to value my time there and the opportunities and relationships that developed .

I have a BS in Human Services and have worked primarily in jobs where I can serve others.
Presently I work as a caregiver to older individuals in their homes.

I, like Jessica Reznicek, also have a deep concern for all of life on our suffering planet. I have
chosen to live close to nature, in a tiny house in the woods, ever present to "Grandmother"
Lake down the road . I have a keen and daily concern for keeping our environment safe and
healthy. I have spoken at many hearings over the years concerning hazardous industrial waste,
radioactive waste, and copper-nickel mining to name a few. I have also used my artwork as my
voice with the hope of elevating awareness and inspiring others to demonstrate great care for
our planet, our home .

I met Jessica when she was an Associate at St. Scholastica Monastery in the Spring of 2019. I
was on a personal retreat . I was drawn to her, I could see her enthusiasm in being at
Monastery and participating in the fullness of life with the Sisters matched her spirit. She was
truly inspirational to the Sisters, and also to me. I have come to know Jessica as a deeply
intelligent, warm, funny, joyful young woman whose deep faith form her path and is her
expression of her deep love for God. She has a great commitment to life, all of life, all of God's
creation. Jessica performed many tasks at Monastery but I know her greatest love was working
outside, especially working in the gardens. Her gifts and her hard work were invaluable to the
older Sisters who greatly need and appreciate her help. I know she ha s also poured love and
enthusiasm into caring for people with small financial means by serving at the Damiano Center,
focusing primarily on the needs of low income children. I spent quality time with Jessica over
the summer of 2019 and into the Fall during visits to Monastery.

Jessica is not a threat in any shape or form to any part of humanity or to the earth. She is
humble and kind. Her heart is brimming over with the best of intentions for every living being.




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Her love of God and devotion to her Christian path moves my heart and inspires me deeply. Her
young life, I hope, will be free to live a contemplative, fully engaged, and active generous life at
Monastery.
Please, I ask you, with a begging heart, to keep Jessica out of jail. Please give her probation, and
allow her to return to Monastery where she is greatly needed. I can assure you, she will thrive
and continue to bless us all.

Thank you so much for reading this letter and hearing me. I am grateful for your time.

EJAA ~
~:r~e Wood
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Grand Marais, Mn.




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April 28, 2021
Eric Anglada

Cuba City, WI


Subject: Regarding Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA


Dear Judge Ebinger:

My name is Eric Anglada. I work at Sinsinawa Mound, a conference and retreat center in
southwest Wisconsin. I am also a farmer who cares deeply about the land. I am also a member
of the Catholic Worker movement, a network of faith-based communities that care for the most
vulnerable in our society and work for justice for people and for the land.

I am writing on behalf of Jessica Reznicek, whom I have known through the Catholic Worker
movement for several years. I have great admiration for the way Jessica has committed her life
to serving the poor, to her spiritual growth, and to peace in her relationships. She is a bright
light in this world and this world desperately needs more people like Jessica – kind, caring,
gentle, looking to better the world.

For most of the last ten years, Jessica has lived and worked at the Des Moines Catholic Worker,
where she cooks and distributes hot meals, fresh produce, warm blankets, and pantry items to
those in need. While doing these daily tasks, Jessica has also organized with rural and urban
Iowans to address climate change, and has provided nonviolent accompaniment to community
organizers in militarized zones in other parts of the world.

I ask you: please do not send Jessica to prison. Please give her probation. She is too bright a
light to put in prison; this world needs her spirituality, her joy, her service to the poor. Please do
not send her to prison.

Thank you for taking the time to read this letter. Feel free to contact me with any questions,
clarifications, or concerns.


Sincerely,
Eric Anglada

Cuba City, WI




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May 5, 2021
Austin Cook

Des Moines, Iowa
Subject: Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA




Dear Judge Ebinger:

After I encountered Jesus at Urbandale High School, I have felt a growing desire to serve. This
desire led me into ministry. In September 2020, a few months after graduating from bible college
in Chicago, I moved into the Des Moines Catholic Worker and first met Jess.

Since I never lived at a Catholic Worker House before, I had many questions and much to learn.
Most workers left shortly before I arrived, a few months into the pandemic, and Jess noticed my
subtle hints that I didn’t know what I was doing and would love a teacher. Cooking for 100+
persons, organizing donations, defining healthy boundaries with houseless guests, and
adjusting to different ideologies within the community took a lot of time and energy, and I may
have failed if Jess didn’t take me under her wing. She has been friend, mentor, counsellor, and,
in many ways, a mother for me the past six months.

I write to plead that you sentence Jess to as little jail time as possible - not only for me, but for
the houseless and poor guests we feed and clothe and the sisters of St. Scholastica monastery
where she intends to live once she is out of legal woes. I believe Jess will be a blessing to the
downcast and the poor wherever she goes, like she was to me. I have only experienced
maternal love and kindness from Jess. I hope she and her love and kindness is not locked away
in a prison cell long.

Thank you for reading my letter.

Best Regards,



Austin Cook

Des Moines, Iowa




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May 5, 2021

Honorable Rebecca Goodgame Ebinger, U. S. District Court Judge:

I respectfully write the court to express my support for Jessica Reznicek. I am a retired Social Worker. I spent
much of my career working with children at UIHC, and at the VA Hospital providing support for female Veterans
who served during the Iraq War. I’ve lived in Iowa for over 50 years, after moving here to attend college.

I know Jessica through the Catholic Worker community in Des Moines. For more than a decade, she has lived and
worked among the poor, providing food and clothing, shelter and safety to those living on the margins. Not long
ago, I reached out to her about housing for a U.S. Military Veteran being released from ICE detention in one of
Iowa's County Jails. Since retiring, I volunteer with a group visiting people in jail. Jessica didn't hesitate - offering
to host him in her community. Though he wasn't released as expected, the offer of hospitality meant the world
to me, and to others as well.

I first met Jessica a little over five years ago, in southern Iowa at the Mississippi River. We share a love for Iowa's
woodlands and waterways, and concern about the degradation of water sources, threats to aquatic life and
Iowa's ecosystems. We share concerns about clean soil and farmland; the proximity of rural wells, and the
waterworks of towns and cities adjacent to the Dakota Access Pipeline. We worked with others to share our
concerns and make our views known. In the time she spent in communities near the River, Jessica developed
relationships with farmers, teachers, pastors, law enforcement, and like-minded visitors. She bore witness to
those whose land had been taken or condemned, woodlands clear cut and earth upended by pipeline
construction. Residents sought her out, to share stories of their love for the land, their loss and grief. These
conversations were healing - a gift to landowners and to families.

In 2018 Jessica continued a life of service and deepened her spiritual practice, volunteering in a Benedictine
community near Duluth, MN. While there she worked part-time at “Kid’s Kitchen,” a program providing meals to
kids in need. I know Jessica to embody the principles of “mercy, compassion, justice and love” central to her
faith.

In my time with Jessica, I’ve learned much from the way she conducts herself - with kindness, good humor,
integrity and respect. She sees the good in others, in our shared humanity. She has helped me to see the good in
myself, to walk in peace, to find my voice. Her way of living and working in the world give me hope. I know I have
much more to learn from my friendship with her.

Rather than sentencing her to prison, I respectfully ask the court to permit Jessica to remain in the community
and to continue her work serving others. I believe this to be for the greater good. I will gladly provide support to
her, in any way I can. I hope the court will consider this request for myself and countless others who will meet
her along the way.

Thank you for taking the time to read my letter and for your consideration.

Sincerely,

Anne (Aaron) Silander

Iowa City, IA




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April 6, 2021
Julie Brown

Des Moines, IA
Subject: Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA


Dear Judge Ebinger:


Thank you for your time and consideration in reading this letter of support for Jessica Reznicek.
My name is Julie Brown and I am the Outreach Coordinator at Christian Peacemaker Teams
(CPT) and a community member at the Des Moines Catholic Worker. Jessica, or Jess as I know
her, has been one of the closest people in my life for about ten years now. It is hard to put the
impact that she has had on my life and the person she is into words.
Jessica and I met in 2011 and then soon after both moved into the Des Moines Catholic Worker.
Living in the same community quickly deepened our friendship. She is an amazingly caring
person and dedicated friend. Jessica is someone who I can talk to about my hopes and dreams
because she genuinely cares. Our paths have gone many directions over the years but we have
always remained close.
The last five years, my work with CPT has often taken me to dangerous parts of Iraq for months
at a time. Jessica is a person who I can talk to when things are tough. She is the kind of person
who asks hard questions about how I am, If I am taking care of myself and most of all, reminds
me to see the beauty in the world. When I come back to the USA, she always finds a way to
greet me at the airport or show up unexpectedly regardless of what she has going on or what
state I am landing in.
Jessica is a person who can light up a room and who cares very deeply for others. Through our
work together at the Catholic Worker soup kitchen I have seen first hand her compassion for
others. It is not uncommon for Jessica to come home after a day of working the soup line and
be missing her shoes or other articles of clothing because she found someone who needed
them more that day. She is also a person who is actively present and comforting those in pain
around her. She can sense when others need a kind word, a hug, or someone to listen.
The most difficult guests come to the Catholic Worker know Jess by name and she also knows
them and their lives. Many people are uncomfortable speaking with folks who are in severe
crisis due to drug addiction or mental issues. Jessica has a way of looking past this and
connecting in an authentic way where they don’t feel judged and feel cared for. This is a quality
that I deeply admire about Jessica. Just last month she walked in the house with several loose
belongings in her hands because she had given her backpack to an unhoused person who was
crying. She explained that she just hoped it would brighten their day.
I have spent years watching her laugh with, cry with, and hold the most vulnerable people
around her. She fills the world with joy wherever she goes. The most outward display of this is
her laughter. She is very personable and has an innate ability to relate to people on their level




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regardless of where that is. I experience Jessica as a person who has a core need to do
whatever she can to alleviate suffering that she sees.
I believe that her desire to alleviate suffering is a driving factor in her journey of activism though
I am not sure if she would frame it this way. She is a practitioner of nonviolence and tries to live
this in her everyday life as well. I don’t ever remember her being labeled an “environmental
activist” until her most recent action nor do I recall her ever saying this about herself.
I do recall her talking years ago about her trips to the mountains and how sad it was to see
remote waterways polluted and having signs posted about contamination. She would comment
over the years about a state she had driven through and the landscape being littered with oil
drills, or how the bluffs were being mined for frac sand. These things really saddened her
because she is very connected to the pureness and serenity of nature.
When the Dakota Access Pipeline came through Iowa, this really brought these environmental
concerns home. I was in Iraq for most of this time but I remember talking to Jessica when she
started her symbolic action along the Mississippi River. She had been sitting alone in front of the
entrance to a drilling site and been arrested for refusing to leave. She said that someone
needed to do something and this was something she could do. I believe this action and the ones
that she is currently being charged with came from a deep desire to preserve life and alleviate
suffering.
I have had countless conversations about nonviolence with Jessica over the years. I know
Jess’s actions came with great care not to harm life. It is my understanding that she had seen
workers using a special cutting torch to construct the pipeline and she then tried using the same
torch to deconstruct it behind them. I understand that this method is controversial and unsettling
for many, I was also taken aback. With that, I still can’t understand the possible prison
sentences and enhancement charges that have been suggested.
If Jessica were to be sentenced to prison, this would affect many lives. She has so many people
who care for her who would be devastated. Her presence in the everyday world would also be
missed by people she hasn’t even met yet. I would not be exaggerating to say that she changes
a life on almost a daily basis with her kindness, generosity and love.
In the years since Jessica’s action against the pipeline, she has found a home in monastic
living. She and I have talked a lot about this next step in her life. I currently live in the same
house as Jessica and she has a daily routine of prayerful reflection and constant communication
with the nuns in her monastic community. I believe that she has found this as a way to cope with
the world’s suffering through prayer and contemplation with a wonderful community of women
and mentors.
Jessica’s desire to leave activism behind and live a monastic life isn’t really a sudden change of
life for her. For those who know her well, this is a likely next step in her journey. To me, she
seemed to be feeling frustrated with the lack of lasting change activism was bringing and has
found that fulfillment by exploring spirituality more deeply. I believe wholeheartedly that if
Jessica was given probation that she would move back to Duluth and join the sisters at the
monastery. The time that she would have spent in prison would be used with the sisters and
giving back to the world with her light and love.
Jessica is an extremely honest person. I know she would also comply with whatever
agreements she makes with your court. I have seen the lengths that she has gone to to comply




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with her current terms of house arrest and maintaining employment. It would not be in her
character to agree to terms of probation and not follow the stipulations she agrees to. For all of
these reasons, I hope you would consider leniency in your sentencing and not sentence Jessica
to prison time.


Thank you for taking time to read all of these thoughts.


Sincerely,
Julie Brown

Des Moines, IA




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May 4, 2021

Kay Kopatich, Chaplain

Des Moines, IA

Subject: Regarding Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger

Thank you for giving me a moment of your time. I am a retired Chaplain and have minis-
tered at Mercy Hospital and Iowa State University as Campus Minister. Most recently I
was Chaplain and coordinator of religion for all the prisons in Iowa Department of Cor-
rections.

I have known Jessica Reznicek for about four years. I became acquainted with her
when she took action to halt the Dakota Access Pipelines that were crossing the fields
of Iowa. After Jessica’s action against the DAPL I came to know her very well. I asked
for her permission to tell you I am her Spiritual Director.

For the last ten years Jessica has devoted her life to helping others. I think it was when
she came to the Catholic Worker House that she became aware of injustices in our
country and our world. This inspired her to take action on what she sees as wrong. For
many years she has helped provide food, shelter and clothing for needy people at this
House. For the last four years while she has awaited trial, Jessica has followed the rules
diligently. She has been punctual and dependable in her work, like The Pizza Hut,
showing up and doing her job well. She is trustworthy and when she says something
you can count her to follow through. She is kind and thoughtful to friends, for example,
on Valentine’s Day when Trader Joe’s was about to throw out dozens of roses. Jessica
retrieved them and delivered them to surprised friends.

Jessica is a deeply committed woman with high ideals. She is honest with herself and
others and makes no excuses for her actions. She does not blame others for her experi-
ences. Even though she came from trauma in her childhood Jessica has transformed
her pain into serving others. I know her as a woman of deep convictions and courage
who is faithful to her beliefs She is passionate about her faith and that passion leads to
action.

From her childhood nature has been important to Jessica. The woods and the Raccoon
River were a refuge and sense of joy for her. When the river became so polluted that it
was dangerous for humans she became alarmed and sad. She wanted to do something
to save it. She eventually felt the need to become a water protecter.

Jessica worked with others for years in different communities to halt progress of the
pipelines. Her interest didn’t begin with the Standing Rock gathering. Years before that




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she took part in a run from the Dakotas to Washington D.C. with young Native Ameri-
cans to bring attention to the threat of the pipelines crossing native lands. When the Da-
kota Access was scheduled to come down through the Dakotas and through Iowa many
people came together to prevent this. They followed the legal steps available to save
the land and water by attending public commentary hearings, gathering signatures for
valid requests for Environmental Impact Statements, hunger strikes, marches and ral-
lies, boycotts and encampments. Fear and frustration grew among members of the re-
sistance as those in authority continued to ignore their appeals.

Native American women at the Standing Rock action against Dakota Access declared
that women are the water carriers, the ones who protect the water. They also have a
Lakota name for water, Mni Wiconi which means, water is life. Jessica knows this in her
bones and she was desperate to save it.

Jessica has been consistent and unwavering in her dedication to save the water. She
feared the destruction that DAPL would do to the Oglala Aquifer as well as the Missouri
River. Yet the authorities were not listening to the people it would affect. She then took
drastic action that would stop DAPL and bring attention to what they were doing. She
took a blow torch to the couplings on the pipeline and stopped them temporarily. She
did not physically harm any person.

In the years since taking part in this serious action, Jessica has had the opportunity to
grow spiritually and emotionally. She has taken an honest look at herself. She has re-
flected deep within and become aware of the impact of her traumatic childhood. She
has used every occasion to gain insight and become a mature and conscientious
woman.

The United States has finally grown beyond our denial and acknowledged the destruc-
tion that oil has caused our environment. Our Climate Crisis is a clear and present dan-
ger and we are closing pipelines and creating renewable energy. We recognize oil has
polluted our land, our waters and our air. Dakota Access Pipeline has been part of the
greed that has destroyed this precious land and water.

Jessica is one those people who act as our ‘canary in the coal mine’ warning us about
the deadly effects of oil. How sad that she is targeted by DAPL for such harsh punish-
ment. She is not a terrorist. She has already proved herself through four long, anxious
years waiting for her trial and sentencing.

I humbly ask for leniency for Jessica in her sentencing. She is a conscientious woman
who has shown she is a trust worthy member of the community. Thank you for the op-
portunity to voice my concern.


Chaplain Kay Kopatich, Retired




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[4/28/2021]
From: Belmont Pinger

Des Moines, Iowa
Subject: Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA
Dear Judge Ebinger:
My name is Belmont Pinger. I am writing to you on behalf of Jessica Reznicek. I met Jessica a few years
ago but have grown closer to her this past year after I moved into the Des Moines Catholic Worker. At
the Worker we serve 9 meals a week to the Des Moines community. Most of our guests suffer from
chronic homelessness, poverty, and or mental health issues. This sometimes presents a variety of
challenges. Guests often have episodes and get into fights. It is up to us to deescalate the situation and
ensure that everyone is safe. When guests start fighting or arguing, Jess is always the person you want
around. She immediately puts herself in harm’s way, talks soothing words, and takes the guest by the
hand and walks them down the block to calm them down. She does this for all of us who live with her
too. A couple weeks ago my friend and mentor passed away. I told Jess, and she looked at me in the eyes
and then held me while I cried. Jess has eyes that carry the grief of surviving a hard life; eyes that know
what you’re going through. Her eyes also shine with love, honesty, and strength that I think we all strive
for.
Jess is gentle with all of us. There was a baby bird who fell out of its nest in the alley by our house and
she immediately borrowed a ladder from the neighbor and carefully put the baby bird back in its nest. She
caretakes the people around her. She is our rock.
Last week the raccoon river was designated one of the nations most endangered rivers. That was the river
that Jessica grew up swimming. For her and many other children and adults it was a place of refuge. Now
because of industrial pollution it is dangerous to swim in the river. Another one of the people I live with
got leukemia as a child from drinking well water that had been poisoned by the industrial farms nearby.
It’s easy to see the price of industrial expansion in Iowa.
No one was ever harmed by Jessica’s actions. No one was ever in danger of being harmed by Jessica’s
actions. If you spend any time around Jessica, you will see that this is because she is a caretaker. She
spends her day from sunrise to sunset taking care of those around her. She feeds people, plants vegetables
in the yard so that we can provide fresh organic vegetables, takes care of cats, and peacefully resolves
conflicts that arise with our guests. She looks us in the eyes and tell us she knows that life is hard but she
loves us and we all can do our best.
Not only would applying the terrorism to this remarkable woman result in a sentence greater than
necessary to achieve the purpose of incarceration, but it simply would not fit. Far from a terrorist, Jessica
improves everything she touches in this world. In making this decision, please consider all those whom
she continues to nourish and sustain—those that need her in their lives. I need her, her housemates need
her, the guests at the Worker need her, the people of Des Moines whom she feeds need her, the nuns of
Duluth need her, the children of the Damiano center need her, and the community at large needs her.
Please Judge Ebinger, give Jessica probation so that she can continue to positively contribute to our
community.

Thank you for reading my letter and for your time.
Sincerely, Belmont Pinger




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May 5, 2021

Melanie Keiper Federal Public Defender
400 Locust Street, Suite 340
Des Moines, IA 50309-2353
Subject: [Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA]
Dear Hon. Rebecca Goodgame Ebinger, U.S. District Court Judge:
I’m writing to explain how I met my friend, Jessica Reznicek and what she was able to do for a
community in Southeast Iowa. After attending four county meetings and listening to the Texas oil
company’s plan to use eminent domain through 18 Iowa counties, I became very concerned for the
safety and well being of landowners and people who rely on our waterways for their drinking water.
When I heard there was a woman near the drilling site at the Mississippi River, I drove from Cedar
Rapids and picked up friends in Iowa City to meet Jessica. We first saw Jess sitting on a rug next to a
pickup truck alongside the road near the drilling worksite exit and across the street from the river. She
had permission from the landowner to be on the land.
We visited Jess at the site for several weekends and witnessed the community coming together. She had
a steady presence next to the river where surrounding neighbors would come to visit. In her
conversations to get to know people, many times they would break down and cry about what was
happening to their land and how concerned they were for their safety. Neighbors regularly visited “the
ditch” and talked through their pain and experiences. Eventually a kitchen was built and locals brought
food for meals shared by a growing group. She organized several gatherings that were spiritual in the
Native American tradition.
Thanks to Jess’ leadership, a large group of community members and neighbors marched on the road to
express their discontent over eminent domain by Dakota Access. Another weekend the community met
at the local hall to have a potluck dinner to support each other and share stories of their experience with
the oil company. I talked with several affected landowners and neighbors who said it was very helpful
to have Jess there as a constant presence bringing people together with similar traumatic experiences.
By being there and talking with people, healing was taking place. And all she started with was a rug and
her presence.
Her message was clear: Our water supply is at risk with the Dakota Access pipeline drilled under our land
and waterways. Iowa families are at risk with 320,000 barrels of volatile crude oil pumped just 3’ under
their feet, (with flow increased now to 520,000 barrels). Jess made a huge positive impression on me.
When you see injustice and people’s lives are at risk, it’s good to be brave, take a stand, and provide a
space for people to gather. She was protecting our water supply and affected families through non-
violent action, and in the process she brought people together who were feeling betrayed by the state
of Iowa.
Jess had a very positive impact on landowners and neighbors in SE Lee County. She even developed
good relationships with local law enforcement officials.
Please consider the full story about Jess, her efforts to protect, and how she helped heal a community
when considering a just outcome in her case. Thank you for reading this letter of support that explains
the true character and actions of Jessica Reznicek.
Sincerely,

Cheryl Valenta
Cheryl Valenta

Cedar Rapids, IA


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April 22, 2021

Judy K. Porter, ACSW, LISW

Urbandale, IA
Subject: Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger:

I want you to know that I value your time, and I greatly appreciate your taking the time to read
my letter to you. Thank you.

I learned about Jessica Reznicek from a friend. Jessica brings value and integrity to our society.
For the last ten years, Jessica has dedicated her life by bringing quality of life to others. As one
example, she works at the Des Moines Catholic Worker Community where she cooks and
provides meals, food and shelter to the homeless.

My friend told me about Jessica’s work regarding the Dakota Access Pipeline. I had other
friends who protested, who were conscientious about our human life and what we need to
sustain us, that is, the water we drink and the food we eat. Having worked as a hospice social
worker for 20 years, I have witnessed that patients die within days to a few weeks when they
can no longer drink water/fluids. Healthy people live longer but will eventually die from lack of
water. Water is essential to all life.

As you know the Dakota Access Pipeline was being built under rivers and through Iowa soil.
From my studies of the ‘Constructionist View of Emotions’, in Lisa Feldman-Barrett’s book ‘How
Emotions are Made’, I learned that people make ‘predictions’ or ‘best guesses’ on future issues
and direction that they believe to be true, but often without factual information. These
decisions are typically based on one’s previous experience. For example, I’ve always had access
to clean drinking water. Have you or I ever thought that we could have our water source so
contaminated that it can’t be consumed? Honestly, my thinking is that clean water will always
be available and if not, someone will fix it. However, this is an emotional response which is not
based on facts. Our water and land resources can be contaminated beyond use. There are a
few human beings who can grasp this, and those who can are the ones we should bring into the
equation in making decisions, such as the usefulness and the dangers of the Dakota Access
Pipeline. Those who took a stand against the Pipeline, because of the dangers it presents to our
water and food, might be called visionaries. They help us see our blind spots and move us to a
place of reality based on factual information and real possibilities.

Thank you for giving me this opportunity to share my thinking with you.


Sincerely,
Judy K. Porter, ACSW, LISW




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April 16, 2021
Mary Ann Koch

Urbandale, IA
Regarding Sentencing of: Jessica Reznicek, USOC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger:

I, Mary Ann Koch, am a retired educator. In 2014 1retired from DMACC's Boone campus and
moved to the Des Moines area to be close to my family. Although l loved my educational work,
I have found retirement gives me time to pursue social justice issues which my Franciscan
background has instilled in me. For many years I have concentrated on water issues which
effect all of us, for "water is life."

For about the past four years I have volunteered weekly at the Des Moines Catholic Worker
where I met Jessica Reznicek. Our common interest in serving the poor and care for Mother
Earth, especially water, sparked our friendship.

This past summer we started meeting outside once a week to visit. As the weather grew cold,
we moved indoors and I would fix lunch for us. This was a treat for me because I live alone.
Over the past year we have discussed many things including our shared earth spirituality, care
for the poorest of the poor, living in community, current events, and our hopes for the future.
Jessica has often spoken of her connections with the sisters in Duluth and her desire to return
there to seek a deeper spiritual life as she serves the poor of the Duluth area. She says she has
even gotten used to the winters up there!

After getting fully vaccinated, 1returned to my volunteering at Catholic Worker. There I have
once again seen Jessica in action. Because all the resident senior Catholic Workers had to
quarantine, Jessica had to take over the coordination of the younger volunteers. She ended up
orienting the new, young volunteers, scheduling work shifts, coordinating food pick-ups, giving
cooking lessons on how to prepare meals for 100+, cooking several times a week, serving and
visiting with guests, and organizing donations. Through all of this she kept an up-beat attitude.

It is my sincere hope that you will see in Jessica the sincerely compassionate person I know. The
world does not need more women in prison, but the world does need more people like her
living a simple life of care and service for the marginalized.

Thank you for considering my thoughts,




Mary Ann Koch

                 Urbandale, IA




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April 27, 2021
Meg Kearns

Duluth, MN

Subject: Regarding sentencing of Jessica Reznicek USDC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger -

My name is Meg Kearns. I have worked with refugee resettlement and running a Food Shelf in
Duluth, MN an am now retired. I met Jessica Reznicek at the Benedictine Monastery in Duluth
where both of us were actively involved in the monastic community. We also share a common
interest in addressing homelessness and offering hospitality through involvement with Catholic
Worker communities.

For the two years that I have known her, it is clear that Jessica is a person of faith who is
compelled to make the world a better place for all people and to promote the common good
and interconnectedness of all of creation. She has done this in Duluth by volunteering in a
variety of ways at the Monastery and being active in the prayer life of the community. She has
also volunteered with a drop-in program that provides meals, educational activities and a safe
place for children to spend time.

Her concern for how current corporate actions will negatively affect the lives of future
generations and her frustration that corporate interests too often take precedence over the
interests of individual people, land, and water guide her actions. Because the risks to our earth
and climate of continuing to invest in fossil fuels are so great, Jessica believes that each of us
has a responsibility to not only speak to this issue, but to be proactive in preventing further
destruction to life on this planet. Her actions at the pipeline were meant to be life-giving,
especially for people who are most at risk from the destructive climate impacts caused by
pipelines.

Sentencing Jessica to jail would be an unnecessary burden on and waste of taxpayer dollars. We
will welcome her back to Duluth and work with her if she is given a sentence that allows her to
use her skills in positive ways to bring about justice for the earth and all of its inhabitants.

Thank you for reading my letter and for your consideration of this matter.

Sincerely,


Meg Kearns




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Regarding the Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA

June 7, 2021


Dear Judge Ebinger:

I am writing to you about Jessica Reznicek who is scheduled to be sentenced by
you on June 30, 2021.

I am a writer and a Catholic Worker living in Washington, DC. For over 40 years,
I have been involved in working with the poor and homeless and advocating for
social justice, peace and nonviolence.

I have met Jessica on several occasions and have followed her work over the
years. What impresses me most about Jessica is her compassion for people, her
love for the environment and all of God's creation, and her unrelenting
commitment to stand for social justice. Over the last ten years she has managed
soup kitchens in Iowa, organized with rural and urban Iowans to address climate
change and provide nonviolent accompaniment to community organizers in
militarized zones in other parts of the world.

Jessica's core belief in the interconnectedness of all life on our planet led her to
work as a water and land protector for future generations. Jessica believes
when one is affected, we are all affected, because we are all one family. Out of
her deep held faith and conscience convictions, Jessica took a stand against the
construction of the Dakota Access pipeline, as it was being built under the rivers
and through the soil of Iowa, her home. She, along with many others in the
region, believe that this pipeline endangers the public health and safety of
people who live in proximity to it and beyond. Prior to her action, she attended
public commentary hearings, gathered signatures for valid requests for
Environmental Impact Statements, and participated in hunger strikes, marches
and rallies, boycotts and encampments. But she only witnessed the
government’s refusal to hear the people’s demands.

On February 6th, 2021 Jessica pleaded guilty to one Count of Conspiracy to
Damage an Energy Facility. She has taken responsibility for her action. As you
sentence Jessica, I hope and pray you will take into account her sincere motives,




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and her life-giving witness of serving the poor and those in need and helping to
protect and save the earth, our common home, from further environmental
devastation. While the government will be recommending a prison sentence for
Jessica, I appeal to you, especially in this pandemic time, to do the right thing
and give her an alternative sentence that does not involve imprisonment.

Thank you, Judge Ebinger, for taking the time to read my letter.

Sincerely,
Art Laffin

Washington, DC




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May 18, 2021

Annie Tucker

Iowa City, IA

Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger,

I am a mediator in Iowa City, Iowa and direct Mediation Services of Eastern Iowa, a 501(c)3 nonprofit that oversees court
connected mediation programs in the Sixth Judicial District.

I am writing in support of Jessica Reznicek. I met her when I helped host an event where she spoke at the Iowa City Public
Library to explain the situation related to the Dakota Access Pipeline (DAPL) and its potential consequences. I have close
friends who were active in the efforts to publicize the DAPL situation and who worked closely with Jessica when she was in
SE Iowa. My friends are, like me, in our sixties and seventies.

I know her to be a young woman who consistently puts herself in situations where she can serve and meet the needs of a
variety of people. She is currently living in the Des Moines Catholic Worker House cooking and feeding an average of 100
people a day. As you no doubt know, her service to the best in people and humanity has spanned the globe.

Whether we are parents raising our children (and I have four adult children) or are local community members wanting the
best for all members of our community or are global citizens who want to ensure that life on earth continues, we strive to
instill in ourselves and others a sense of caring about others and the earth and the will to do what one can to make the
world a better place. I am grateful to Jessica for living that.

Jessica looks and sees needs and works to meet them.

In 2016, Jessica and others took a stand against the construction of the Dakota Access Pipeline as it was being built under
the rivers and through the soil of Iowa. They attended public commentary hearings, gathered signatures for valid requests
for Environmental Impact Statements, and participated in Civil Disobedience, hunger strikes, marches and rallies, boycotts
and encampments.

She is a person who strives to nurture the best in people wherever she is.

Nonetheless, I ask that you not sentence her to prison.

If you feel a need for the court to monitor her, please ask her to write you or the court letters, monthly or annually, to let
you know how she is contributing to society and the planet and what she is learning.

Thank you so much for reading this letter.


Annie Huntington Tucker



Iowa City, IA




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April 16, 2021

Ashley Walker

Mobile, AL

RE: Sentencing of Jessica Rezniek, USDC 4:19-CR-00172 RGE-HCA

Dear Judge Ebinger:

My name is Ashley Walker, and I am a social worker at AIDS Alabama South in Mobile,
Alabama. I lived and worked with Jessica Reznickek at The Des Moines Catholic Worker House
in 2007. During this time, I lived in community with Jessica, and I was inspired by her passion
and commitment to serve the homeless, the environment and to practice the Works of Mercy.
Jessica was a leader in The Des Moines Catholic Worker, and she was a beacon of hope not only
for myself but for many of the guests we served. While serving at The Des Moines Catholic
Worker, I found solace that Jessica was there to show me the ropes on how to serve our guests
and how to serve the community where we lived. Under her guidance, I was able to grow the
confidence to love myself and to be an advocate for social change in Des Moines. Thus, living
in community with Jessica allowed me to grow into the person I am today. Without the
experience of living at the Des Moines Catholic Worker House, I do not think I would be a social
worker today. Furthermore, knowing Jessica allowed me to identify my value system and to find
family during a time when I was alone. Her energy was infectious and welcoming and without
her guidance I would have been a leaf tossed to and fro. Thus, she allowed me to find my center
and create a tool kit that has allowed me to identify the strength within myself to keep moving
forward.

The good that Jessica has done for her community is monumental. She has advocated for the
working poor, the environment, served countless homeless guests and always served with a
smile. She helped create a home for our guests who were struggling with a wide array of issues.
She was infectious and a good cook. Her attributes of positivity and greatness are endless, and I
am thankful to have served with her at The Des Moines Catholic Worker House.

I write this letter to ask Judge Ebinger to not sentence her to jail. Jessica is a good person who is
needed in the community to continue doing the work of serving the underprivileged, the working
poor and people who are homeless.

Thank you Judge Ebinger for taking the time to read my letter, I appreciate your time and
service.

Sincerely,

Ashley Walker




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April 14, 2021


Judge Rebecca Goodgame Ebinger.
C/O Melanie Keiper Federal Public Defender
400 Locust Street, Suite 340,
Des Moines, IA 50309-2353
Subject: Regarding Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA

Dear Judge Ebinger:

I have known Jessica Reznicek for over 15 years. She is a friend of our family in Des Moines
and has been to many of our family gatherings. She is a woman with a troubled past but through
working with the poor, she has found purpose and direction in her life. It would be a shame to
place this woman with so much love and commitment to the poor in a cell.

On a personal level, she has challenged me to look inward and ask myself how I am improving
the lives of those less fortunate and what kind of legacy I am leaving behind to my children and
grandchildren. If you were to spend any time with her, you would realize her level of
commitment for the poor and our earth and that she is a person of peace.

Jessica has admitted to her crime. The community would be better served if you were to
sentence her to work with the poor, where she would be improving the lives of those most in
need and she would not be a financial burden on the state.

Thank you Judge Ebinger for taking the time to consider my request. I will be praying for you as
you make this very important decision.

Sincerely,



Bill Cordaro

Kansas City, MO




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April 17, 2021


Jeffrey J. Weiss
                      Des Moines, IA

Subject: Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA



Dear Judge Ebinger:

My name is Jeffrey J. Weiss. I am an adjunct professor at Des Moines Area Community College
and worked for years as the Peace Education Director of the American Friends Service
Committee (the Quakers). I have also served recently as the director of Catholic Peace Ministry.
I met Jessica Reznicek during the "Occupy Wall Street' movement and through her work helping
the poor as a member of the Catholic community.
Jessica Reznicek is a person who believes in social justice and that many people are hurting. I
saw this in how she would work to prepare and directly deliver meals to the homeless. I saw this
when she spoke to church groups during Occupy Wall Street in her compassion for the poor and
the concerns of the faithful in the room.    I write this to ask you to have mercy on my friend.
In addition, I want to thank you for reading this letter and your kind consideration.

Jeffrey J. Weiss

Des Moines, IA




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Dear Judge Ebinger:

I was part of the Catholic Worker community in Iowa for the past 20 years having recently
retired in June 2020. I have known Jessica in this context for the past 10 years.

Judging by her actions over this time, I know her to be intelligent, thoughtful and a responsible
steward of the earth's resources. She understands how fragile our situation is ecologically and is
courageous enough to take action to support life. She puts her beliefs into practice by
performing the biblical Works of Mercy and caring for the most vulnerable in our society. There
is no more important work than feeding hungry people and helping to insure that basic resources,
like clean water, are available for everyone.

Thank you for reading my opinion, Judge Ebinger.

Fran Fuller

Hartford, IA




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Dear Judge Ebinger,

We are retired educators who live in Des Moines and know Jessica Reznicek through her work
at the Des Moines Catholic Worker House.

We believe Jessica is a woman of peace who felt called to engage in an act of civil disobedience
due to her concern about climate change and its impact on life on Earth. No one was injured in
this action, as was Jessica’s intent.

Because of this, we respectfully request that Jessica receive probation instead of jail time when
you sentence her later this month. Her peaceful presence in the world and her service to others
are gifts that our community needs.

Thank you for considering our comments.

Sincerely,
Mona and Steve Gude




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                                                                     April 7, 2021

                                                                     Jon Krieg

                                                                     Des Moines IA



Regarding Sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA



Dear Judge Ebinger:

I write to urge you not to sentence Jessica Reznicek to jail.

I have been a lifelong, nonviolent peace activist in Des Moines. I have met Jessica on a few occasions but
cannot say that I know her well. I do appreciate the work she and others in the Catholic Worker
community have done in support of people who are homeless and/or hungry.

While I have never supported property destruction as a means of social change, I do believe that Jessica
acted with the worthy attention of stopping a pipeline that will only hasten climate change and the
destruction of our biosphere. This is clearly an existential matter for humanity, and it’s also clear that
the fossil fuel industry’s grip on lawmakers makes change very, very difficult to attain through the
legislative process.

I do not think that sentencing Jessica to jail will benefit her or society.

Thank you for considering my views.

Sincerely,

Jon Krieg (via email)




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Dear Judge Ebinger:

I am a peace activist born and raised in Chicago where I have lived for most of my life. While teaching in
a Jesuit High School in Chicago, I was fortunate to learn about Catholic church social teachings and the
strong commitment of many faith-based communities to live in accord with these teachings.

I have met Jessica Reznicek through her work with the Catholic Worker community in Iowa. Sometimes
her community would invite me to speak about experiences living among people in war zones who could
not escape bombings and invasions. Jessica showed genuine curiosity, deep care for civilians and
soldiers affected by war, and a delightful, welcoming readiness to be friends with me. I’ve been grateful
for her friendship and the chance to learn from her.

Like Jessica, I believe it’s crucial to speak up clearly about the climate catastrophe we face and the
responsibilities of corporations and governments to stop abusing our common mother earth. The
urgency she has communicated was important for me to grasp.

I appreciate Jessica’s commitment to live simply, share resources, and pursue nonviolent means to
resolve conflicts. I believe her kindness and her passionate commitment to build a better world will
continue to benefit communities wherever she lives. Confining her to a prison would more or less place
her light under a bushel, although I feel sure she would do her best to study and write while in prison.

Jessica is a resilient, thoughtful person. I hope you and she will have time to interact and that you will be
inclined to join her in seeking to fulfill the works of mercy.

Thank you for reading this letter.

Sincerely,

Kathy Kelly

Co-founder: Voices in the Wilderness and Voices for Creative Nonviolence



St. Charles, IL




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  Melanie Keiper, Federal Public Defender
  400 Locust Street, Suite 340
  Des Moines, Iowa 50309-2353

  April 20, 2020
  Richard Flamer
  Chiapas, Mexico
  Subject: Regarding sentencing of Jessica Reznicek 4:19-cr-000172 RGE-HCA

  Dear Judge Ebinger,
           I am an old man with a great life of service behind me. Along the way of my
  crooked path I have been blessed to meet some wonderful, caring souls. Jessica
  Reznicek is a sterling stand-out among those wonderful people. In my time as a
  Catholic Worker, both in Des Moines and in Chiapas, Mexico I have had the honor of
  working with Jessica serving the poor.
           Unlike many in the Catholic Worker movement, she is both spiritual and a
  worker. Her faith is, quite honestly, staggering to me. Her life, since I have known
  her, now over 15 years, has been a light- a shining brilliant beam, for all who
  encounter her. Her work is always exemplary. Not only in her service at the Worker
  where she still, to this day, cooks for 50 to 150 street people but also, when I have
  observed her in her paying jobs (usually part time as a waitress, cook or cleaning
  houses) she sets a fine example. Usually cheerful, she often fills in for sick or absent
  employees.
           As for Jessica’s love of nature I can’t say much. On her visits to our little
  Catholic Worker Farm she would first ask if there was any work to be done, if not
  she would take of walking with our dogs to explore our land. It must have suited her
  because she always came back enthused.
           “Good Trouble” proclaimed the late John Lewis. That, I believe, is what Jessica
  has been involved in for most of the time I have known her. Assisting in the Black
  Lives Matter, feeding children in Duluth, Minnesota or protesting against the Drone
  Program she has always been a pacifist and humanist. I can only surmise the actions
  of Jessica regarding the pipeline incident but I know that she would have exhausted
  all the legal remedies possible before her action. I know that she would have been
  careful to take precautions to see that no one would be hurt. I believe the only
  people burdened by the equipment destruction were the owners of the equipment
  (most assuredly covered by insurance.) Certainly the farmers, the Indigenous, the
  poor families whose lands were taken were not injured. Nor were those poor
  saddened to see the construction halted.
           The sad people are those of us who work and pray with Jessica. We are
  saddened at the possibility that this wonderful woman might go to jail. Probation
  would be a wonderful thing as she could continue to contribute the better world we
  are all trying to create.
           Jessica Reznicek is a great force for good in this world. The world would be
  much better served if she was free from confinement.
           Thank you Judge Ebinger for your thoughtful review of this letter.
  Richard Flamer,                        , Santa Lucia, Chiapas,       Mexico




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Dear Judge Ebinger,

      Please have mercy on Jessica Reznicek (USDC 4:19cr-00172RGE-HCA) who was
      involved in the resistance to the pipeline on Indian land. Jessica is a person committed to
      justice and peace. She was a member of the Des Moines Catholic Worker. She donated
      her time and energy in helping the needy and indigent in the city. She is committed to
      protecting the environment and practicing justice to the native peoples. She is not a
      person who harms people, but she is a committed positive help to those in need. She
      would like to continue her work with the needy, and for this reason we are asking that she
      not be imprisoned. There is a difference between a criminal and a protector of the land.

      Thank you for your attention.

      Peace,

      Don Timmerman

      Roberta Thurstin



      Milwaukee WI




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May 1, 2021

Dawn Jones

                       , Wellman Iowa,



Melanie Keiper Federal Public Defender

400 Locust Street, Suite 340, Des Moines, IA 50309-2353


Subject: [Regarding Sentencing of: Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA]

Dear Judge Ebinger:

I am a 74 year old Grandmother and member of 100 Grannies, an environmental group
centered in Iowa City. We Grannies are concerned that the air, soil and water are
protected from contamination.

I have attended two talks by Jessica Reznicek and wish I were wise enough, loving
enough, and brave enough to emulate her. I agree with her assessment that we
humans on earth have allowed the principle of “the bottom line” to put the environment
in a precarious position.

Jessica has acted to save the earth so those living now and those yet to be born will
have drinkable water and breathable air. I believe she acts out of concern for all of us.

I am writing to ask you not to sentence Jessica to serve time behind bars. Our world is
fragile and needs more people who care about it, as Jessica does, and who are willing
to teach others that the earth and its denizens are sacred and deserve to be loved and
protected.

Thank you for your time and your public service,

Dawn Jones




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                         Catholic Peace Ministry
                                Des Moines, Iowa




                                           May 7, 2021

To Judge Rebecca Goodgame Ebinger
c/o Melanie Keiper, Federal Public Defender
400 Locust St., Suite 340
Des Moines, Iowa 50309-2353

From the Board of Catholic Peace Ministry, Des Moines, Iowa.

Regarding the sentencing of Jessica Reznicek, USDC 4:19-cr-00172 RGE-HCA.


Dear Judge Ebinger:

We are writing to urge you not to sentence Jessica Reznicek to time in prison.

Catholic Peace Ministry is a citizens’ grass roots peace and justice advocacy group in central
Iowa based in nonviolence. Many of us are well aware of Jessica’s deep commitment to
principles found in Catholic social justice teachings that animate us, at our best – things as basic
as love all your neighbors, seek justice for all, respect the Earth, and work for peace actively and
ardently.

Jessica is anything but a terrorist. She has volunteered for a decade with the Catholic Worker
Community here and the Benedictine monastic community in Duluth, providing food for the
hungry, shelter for the homeless. Her aspiration is to return to her faith community and
spiritual journey.

Jessica has worked as a land-protector for future generations. Her environmental activism has
deep roots, going back to childhood close to the Raccoon River here in central Iowa, which had
a profound effect on forging her conviction to protect and rescue our part of imperiled Earth.




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Coincidentally, the Register’s page-one, top headline for April 13 read, “Raccoon called a top
‘endangered river’.” (The Raccoon is among our nation’s 10 most-endangered waterways for
2021, named by the influential “American Rivers” environmental advocacy non-profit.)

Jessica has been sounding that alarm for years. She is not a terrorist; she is a truth-teller, an
advocate for Mother Nature, a citizen committed to protecting Iowa waters, a neighbor helping
the poor, the hungry and homeless.

Thank you, Judge Ebinger, for considering our appeal for justice in the sentencing of Jessica
Reznicek.

Sincerely,


Robert Brammer                                      Patti McKee
Board member                                        Director

On behalf of the Catholic Peace Ministry Board:

 Dr. David Drake Steve Gude Sr. Elaine Hagedorn Lynne and Bill Howard Maggie Maloney
        Jean Minahan Patrick Minor Fr. David Polich Billie Wade Robert Brammer




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Dear Judge Ebinger,

I’m writing you in support of my personal hero Jessica Reznicek. I met Jessica at the Des Moines Catholic
Worker, choosing to come here to do community service while taking online classes at Grinnell College.
In the past year I’ve gotten to know and learn from a very lovely human who has taught me to be a
better person, love others and love myself. Her commitment to social justice in particular has been very
influential to me as a young feminist. She is deeply committed to fighting poverty and food insecurity
and she shows this through the hours upon hours she spends cooking for and serving food to the public.
She is a very powerful woman and a blessing to our community. Jessica should not go to prison because
there is no reason for her to be in prison. She did not harm anyone through her acts, and she is the
farthest thing from a domestic terrorist. She is a domestic benefactor, and the Des Moines community
would be very negatively affected if she were put behind bars. It is not fair to the community for
someone who does so much for them to be treated as disposable, when in reality she is very much
needed in the world as she is always working to make it a better place.



Thank you for reading this letter, Judge Ebinger.

Jennifer Rodrigues Santos

            Des Moines,




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